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                                         CAUSE NO. 2017-10832

JETALL COMPANIES, INC. AND                               §           IN THE DISTRICT COURT OF
DECLARATION TITLE COMPANY, LLC,                          §
     Plaintiffs,                                         §
                                                         §
vs.                                                      §              HARRIS COUNTY, TEXAS
                                                         §
ALAN B. DAUGHTRY, ATTORNEY AT                            §
LAW, RICHARD HEIL, TODD OAKUM                            §
AND RENEE DAVY F/K/A RENEE                               §
OAKUM,                                                   §
     Defendants.                                         §              152nd JUDICIAL DISTRICT

                                    ASSIGNMENT OF JUDGMENT

             On June 23, 2020, a judgment ( the "Judgment") was rendered in the above-referenced cause

in favor of Renee Davy and Richard Heil against Jetall Companies, Inc.

             WHEREAS, on August 16, 2022, the Houston Court of Appeals, First District, affirmed the

Judgment, in Cause No. 01-20-00615-CV.

             WHEREAS, on December 16, 2022, the Houston Court of Appeals, First District, issued

its mandate, in Cause No. 01-20-00615-CV.

            WHEREAS, Richard Heil (the "Assignor") assigns, as stated herein, all of his rights, title,

and interest, to the Judgment against Jetall Companies, Inc.; and

            WHEREAS, the Assignor and John Quinlan, Osama Adullatif, and Omar Khawaja,

(collectively, the ••Assignees") desire to place of record this assignment and acknowledge that the

Judgment, in favor of the Assignor now belongs to the Assignees, in an equal and undivided interest.

            IT IS, THEREFORE, AGREED AS FOLLOWS:

            The Assignor, in consideration for good and valuable consideration in hand paid by the

Assignees, the receipt and sufficiency of which is hereby acknowledged, hereby assigns, sets over,


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                                 HREP/Jetall, et al.                174
                                                                                           Exhibit 1
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and conveys. without recourse. representati on or warranty of any kind, express or implied, as is, to

the Assignees, and or their successors and or assigns, all of the Assignor' s rights, title and interest

in the Judgment rendered in this cause on June 23 , 2020.


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lR                                    of this assignment is February 17, 2023,




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.JOHN QUINLAN                                                  OSAMA ADULLATIF




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the Ass ignees. and or their successor:-. ,111d or ,1:;signs. all o f the :\ ss ignnr·s rights. tit le a nd in te res t

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in the Judgment rendered in rhis cause on June 23. 2020.

            The Effective Date ot' this as, ig:nml'l1t i:; h:bruary 17, 2023.



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JOHN QUI~LAN




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  in the Judgment rendered in this cause on June 23 , 2020.

                    The Effective Date of this assignment is February 17. 2023.




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 JOHN QUINLAN                                                   OSAMA AD ULLA TIF




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                                       CAUSE NO. 2017-10832

JET ALL COMPANIES, INC. AND                             §           IN THE DISTRICT COURT OF
DECLARATION TITLE COMPANY, LLC,                         §
      Plaintiffs,                                       §
                                                        §
VS.                                                     §              HARRJS COUNTY, TEXAS
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ALAN B. DAUGHTRY, ATTORNEY AT                           §
LAW, RJCHARD HEIL, TODD OAKUM                           §
AND RENEE DA VY F/K/A RENEE                             §
OAKUM,                                                  §
     Defendants.                                        §               152nd JUDICIAL DISTRJCT

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            WHEREAS, on December 16, 2022, the Houston Court of Appeals, First District, issued

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            WHEREAS, Renee Davy f/k/a Renee Oakum (the "Assignor") assigns, as stated herein, all

of her rights, title, and interest, to the Judgment against Jetall Companies, Inc.; and

            WHEREAS, the Assignor and John Quinlan, Osama Adullatif, and Omar Khawaja,

(collectively, the "Assignees") desire to place of record this assignment and acknowledge that the

Judgment, in favor of the Assignor now belongs to the Assignees, in an equal and undivided interest.

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                                HREP/Jetall, et al.               169
                                                                                          Exhibit 1
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in the Judgment rendered in this cause on June 23, 2020.

            The Effective Date of this assignment is February 17, 2023.




JOHN QUINLAN                                            OSAMA ADULLATIF




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 .JOH N QUINLAN                                                    OSAMA ADlJLLATIF


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JOHN QUINLAN




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                               HREP/Jetall, et al.                172
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JOHN QUINLAN                                               OSAMA ADULLATIF




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                                   HREP/Jetall, et al.                173
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